Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 1 of 14 PageID #:1
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 2 of 14 PageID #:2
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 3 of 14 PageID #:3
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 4 of 14 PageID #:4
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 5 of 14 PageID #:5
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 6 of 14 PageID #:6
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 7 of 14 PageID #:7
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 8 of 14 PageID #:8
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 9 of 14 PageID #:9
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 10 of 14 PageID #:10
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 11 of 14 PageID #:11
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 12 of 14 PageID #:12
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 13 of 14 PageID #:13
Case: 1:00-cv-04968 Document #: 1 Filed: 08/14/00 Page 14 of 14 PageID #:14
